                                                              United States Bankruptcy Court
                                                                    District of Arizona
In re:                                                                                                                 Case No. 22-00693-BMW
SAMANTHA A SKATES                                                                                                      Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0970-4                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Feb 14, 2022                                               Form ID: nch13pln                                                         Total Noticed: 18
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 16, 2022:
Recip ID                   Recipient Name and Address
db                     +   SAMANTHA A SKATES, 7577 W. WINCHESTER EASEMENT, WILLCOX, AZ 85643-3792
16635373               +   Caine & Weiner, Attn: Bankruptcy, 5805 Sepulveda Blvd, Sherman Oaks CA 91411-2546
16635374               +   Capital Bank N.A., One Church Street, Suite 100, Rockville MD 20850-4190
16635381               +   General Business Recoveries, Attn: Bankruptcy Dept, Po Box 41960, Tucson AZ 85717-1960
16635385               +   Pioneer Title Aka Mr. and Mrs. Bee, 2700 E Fry BLVD STE A9, Sierra Vista AZ 85635-2827
16635386               +   WW Services LLC, PO Box 850, Willcox AZ 85644-0850

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: bankruptcynotices@azdor.gov
                                                                                        Feb 15 2022 02:11:00      AZ DEPARTMENT OF REVENUE,
                                                                                                                  BANKRUPTCY & LITIGATION, 1600 W.
                                                                                                                  MONROE, 7TH FL., PHOENIX, AZ 85007-2650
16635372               + Email/Text: backoffice@affirm.com
                                                                                        Feb 15 2022 02:11:00      Affirm, Inc., Attn: Bankruptcy, 30 Isabella St,
                                                                                                                  Floor 4, Pittsburgh PA 15212-5862
16638082                   Email/Text: ebnnotifications@creditacceptance.com
                                                                                        Feb 15 2022 02:11:00      CREDIT ACCEPTANCE, 25505 W 12 MILE RD,
                                                                                                                  SOUTHFIELD , MI 48034
16635375               + Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Feb 15 2022 02:10:26      Capital One, Attn: Bankruptcy, P.O. Box 30285,
                                                                                                                  Salt Lake City UT 84130-0285
16635376               + Email/Text: ebnnotifications@creditacceptance.com
                                                                                        Feb 15 2022 02:11:00      Credit Acceptance, Attn: Bankruptcy, 25505 West
                                                                                                                  12 Mile Road Ste 3000, Southfield MI 48034-8331
16635378               + Email/Text: opportunitynotices@gmail.com
                                                                                        Feb 15 2022 02:11:00      FinWise Bank/Opp Loans, Attn: Bankruptcy, 130
                                                                                                                  E Randolph St, Ste 3400, Chicago IL 60601-6379
16635377               + Email/Text: bnc-bluestem@quantum3group.com
                                                                                        Feb 15 2022 02:11:00      Fingerhut, Attn: Bankruptcy, 6250 Ridgewood
                                                                                                                  Road, Saint Cloud MN 56303-0820
16635379               + Email/PDF: ais.fpc.ebn@aisinfo.com
                                                                                        Feb 15 2022 02:10:43      First Premier Bank, Attn: Bankruptcy, Po Box
                                                                                                                  5524, Sioux Falls SD 57117-5524
16635380               + Email/Text: Atlanticus@ebn.phinsolutions.com
                                                                                        Feb 15 2022 02:11:00      Fortiva, Attn: Bankruptcy, Po Box 105555, Atlanta
                                                                                                                  GA 30348-5555
16635382               + Email/Text: mmrgbk@miramedrg.com
                                                                                        Feb 15 2022 02:11:00      Miramed Revenue Group, Attn: Bankruptcy, 360
                                                                                                                  E. 22nd Street, Lombard IL 60148-4924
16635384               + Email/PDF: cbp@onemainfinancial.com
                                                                                        Feb 15 2022 02:10:42      OneMain Financial, Attn: Bankruptcy, Po Box
                                                                                                                  3251, Evansville IN 47731-3251
16635383               + Email/PDF: cbp@onemainfinancial.com
                                                                                        Feb 15 2022 02:10:38      OneMain Financial, Po Box 1010, Evansville IN
                                                                                                                  47706-1010

TOTAL: 12


                                                       BYPASSED RECIPIENTS

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District/off: 0970-4                                              User: admin                                                             Page 2 of 2
Date Rcvd: Feb 14, 2022                                           Form ID: nch13pln                                                     Total Noticed: 18
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 16, 2022                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 14, 2022 at the address(es) listed
below:
Name                             Email Address
DIANNE C. KERNS
                                 mail@dcktrustee.com ecf@dcktrustee.com,dckerns@dcktrustee.com

EMILY ELIZABETH ZOBEL
                                 on behalf of Debtor SAMANTHA A SKATES ezobel@majorslawgroup.com
                                 ecfnotice@majorslawgroup.com,majorsdr89540@notify.bestcase.com,jocelyn@majorslawgroup.com,dominic@majorslawgroup.
                                 com

U.S. TRUSTEE
                                 USTPRegion14.PX.ECF@USDOJ.GOV


TOTAL: 3




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FORM nch13pln
REVISED 06/04/2018



                                UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF ARIZONA

In re:                                                        Case No.: 4:22−bk−00693−BMW

    SAMANTHA A SKATES                                         Chapter: 13
    7577 W. WINCHESTER EASEMENT
    WILLCOX, AZ 85643
    SSAN: xxx−xx−1063
    EIN:

Debtor(s)


                        NOTICE OF DATE TO FILE OBJECTION TO CHAPTER 13 PLAN
    Notice is hereby given that the Debtor(s) have filed the enclosed or attached Chapter 13 Plan. Pursuant to Local
Rules 2084−9 and 2084−10, plan confirmation is governed by the following procedures:

1. Any objection by a creditor to the plan must be in writing and filed within the Bankruptcy Court, and copies
served on the following parties, no later than 14 days after the original date set for the meeting of creditors, or any
continuance thereof, or reinstatement of the case, or 28 days after service, whichever is later:
Address of the Bankruptcy Clerk's Office                          U.S. Bankruptcy Court, Arizona
                                                                  38 S. Scott Avenue
                                                                  Tucson, AZ 85701−1704

Address of Trustee                                                DIANNE C. KERNS
                                                                  31 N. 6TH AVENUE
                                                                  #105−152
                                                                  TUCSON, AZ 85701

Address of Debtor(s)                                              SAMANTHA A SKATES
                                                                  7577 W. WINCHESTER EASEMENT
                                                                  WILLCOX, AZ 85643



Address of Debtor(s) Attorney                                     EMILY ELIZABETH ZOBEL
                                                                  MAJORS LAW GROUP PC
                                                                  4667 S LAKESHORE DR STE 5
                                                                  TEMPE, AZ 85282


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2.    The Trustee is to file a Recommendation within 28 days after the above date for creditor objections.

3. If creditors file no objections and the Trustee recommends confirmation, the Court may confirm the Plan without
a hearing.

4. If a creditor files an objection and/or the Trustee does not recommend confirmation, the Court may confirm a
plan without a hearing, provided the Trustee and all objecting creditors agree to a stipulated confirmation order. If
unable to so agree and stipulate, the Trustee or objecting creditor shall set the matter for hearing and provide notice to
the Debtor(s) and each objecting party.

5. For an original plan, the failure of a party in interest to timely file an objection to confirmation of the Plan
shall constitute acceptance of the Plan pursuant to 11 U.S.C. Section 1325(a)(5)(A), and a waiver of the
requirement under Section 1324 that the Court hold a confirmation hearing within 45 days after the date of the
meeting of creditors.



Date: February 14, 2022

Address of the Bankruptcy Clerk's Office:                    Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
38 S. Scott Avenue                                           George Prentice
Tucson, AZ 85701−1704
Telephone number: (520) 202−7500
www.azb.uscourts.gov




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